Case 3:21-mj-00085-EMT Document1 Filed 03/05/21 Page 1 of 1

AO 442 (Rev, 11/11) Arrest Warrant

UNITED STATES DISTRICT COURT

for the

District of Columbia

 

 

United States of America — Case: 1:21-mj-00267

| ‘ Assigned To : Harvey, G. Michael

Andrew William GRISWOLD ) Assign. Date : 3/1/2021
) Description: Complaint w/ Arrest Warrant
)

| )
Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

fname of person to be arrested) Andrew William GRISWOLD >
who is accused of an offense or violation based on the following document filed with the court:

1 Indictment  Superseding Indictment O Information © Superseding Information MM Complaint
OG Probation Violation Petition © Supervised Release Violation Petition O Violation Notice O Order of the Court

This offense is briefly described as follows:

18 U.S.C. § 1752(a)(1) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without
Lawful Authority;
40 US.C, § 5104(e)(2) - Violent Entry and Disorderly Conduct on Capitol Grounds;
18 U.S.C. § 1512(c)(2) - Obstruction of Justice/Congress;
18 U.S.C. § 1752(a)(2) - Knowingly Engaging in Disorderly or Disruptive Conduct in Restricted Building.

Digitally signed by G. Michael

 

 

i i Harve
Date: 03/01/2021 by he 7 a “Date: 2021.03.01 143424 -05'00"
- _ issuing officer's signature
City and state: Washington, D.C. G. Michael Harvey, U.S. Magistrate Judge

 

 

Printed name and title

 

Return

This warrant was Clon on date} oe [/202 | , and the person was arrested on (date) 03 [OS [a2 /

at (city and state) Fey The dla,

vue oes [2021 Yaa. Kd!

“Arresting officer's sighatu ee tL) “

 

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Heather Kanacd Speci oer

Printed name and title

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